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PLEA INFORMATION                            Date: 8/27/19

CASE CAPTION: USA v. Webyoga, Inc.                      CASE NUMBER: 3:19-cr-107

Pltfs Attorney: Kyle Healey              Defts. Attorney: Ralph Kohen / Jeanne Cors

X             Defendant’s Corporate Representative appeared with counsel.

              Interpreter     appeared and sworn.

X             Defendant’s Corporate Representative waived right to Indictment and signed waiver of indictment
              form.

              Waiver of Indictment form signed by Defendant and Defendant Counsel which was read and
              translated to Defendant in open Court.

              Defendant waived reading of Information and defects in service.

X             Defendant's constitutional rights explained and Defendant’s Corporate Representative stated his
              understanding of said rights.

X             Defendant waived constitutional rights.

X             Defendant’s sentencing guidelines range discussed and Defendant’s Corporate Representative
              stated he understood the possible sentence.

 X            Guidelines levels stated as Level     .

X             Plea agreement stipulated to, each page initialed, and document signed by both counsel
              and Defendant’s Corporate Representative                                               .

X             Statement of Facts read into record by AUSA       .

X             Defendant acknowledged accuracy of Statement of Fact.

X             Defendant’s Corporate Representative entered a plea of guilty to Count(s) 1 .

X             Plea accepted and made a permanent part of the record.

X             Defendant referred to Probation Department for Pre-sentence Investigation (PSI).

              Bond / Other:

              Conditions of Bond:

 X            Other: Sentencing set for Thursday, December 5, 2019 at 10:30 am




COURT REPORTER:      Mary Schweinhagen                              CONVENE: 1:50 pm

DEPUTY CLERK:      Liz Penski                             RECESS: 2:40 pm
